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THE WEITZ LAW FIRM, P.A.
                                     Application GRANTED. The initial pretrial conference is ADJOURNED to
     Bank of America Building        November 23, 2022, at 4:10 p.m. The conference will be telephonic and
18305 Biscayne Blvd., Suite 214
       Aventura, Florida 33160
                                     take place on the following line: 888-363-4749; access code: 558-3333.

                                 Plaintiff shall file proof of service when he receives the affidavits from the
October 12, 2022                 Secretary of State. If he does not receive them by October 28, 2022,
                                 Plaintiff shall attempt to serve Defendants via FedEx at their places of
VIA CM/ECF                       business, and file proof of service by November 4, 2022. So Ordered.
Honorable Judge Lorna G. Schofield
United States District Court         Dated: October 13, 2022
Southern District of New York                 New York, New York
40 Foley Square - Courtroom 1106
New York, NY 10007

       Re:     Velasquez v. 1517 New Bani Grocery, Inc., d/b/a New Bani Grocery, et al.
               Case 1:22-cv-07115-LGS

Dear Judge Schofield:

        The undersigned represents the Plaintiff in the above-captioned case matter. The Initial
Pretrial Conference in this matter is currently scheduled for October 26, 2022, at 4:10 p.m., in your
Honor's Courtroom. However, Defendants have not yet appeared in this matter, having been sent for
service through the Secretary of State. At present, we have not received the Affidavits of Service yet.
But will promptly file them upon receipt. In order to allow the parties adequate time to engage in
early settlement discussions, while affording additional time for the defendants to appear, a 30-day
adjournment of the Conference is hereby respectfully requested to a date most convenient to this
Honorable Court.

       Thank you for your consideration of this first adjournment request.

                                              Sincerely,

                                              By: /S/ B. Bradley Weitz           .
                                                 B. Bradley Weitz, Esq. (BW9365)
                                                 THE WEITZ LAW FIRM, P.A.
                                                 Attorney for Plaintiff
                                                 Bank of America Building
                                                 18305 Biscayne Blvd., Suite 214
                                                 Aventura, Florida 33160
                                                 Telephone: (305) 949-7777
                                                 Facsimile: (305) 704-3877
                                                 Email: bbw@weitzfirm.com
